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                            Exhibit X
      Case 6:07-cv-00204-LED
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                                                                Overview

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  Overview
  Sony Brand                         Sony Electronics Overview
  Company of Firsts
  Press/Analyst Contacts
  Executive Biographies &
                                       For more than 40 years, North America has had a love affair with the Sony brand. During that time, Sony has
  Photos
                                       created numerous products and technologies that have helped make consumers' lives easier, more enjoyable and
  Community
                                       more productive. At the same time, the company has earned a solid reputation for quality, reliability, innovation
  Environmental                        and stylish design. In fact, the Harris Poll has identified Sony as a top brand in America, as the company has held
  Business Locations                   the top three positions over the past 12 years including the number one position for nine years.
  Sony Site Links
                                       The company is committed to maintaining a leadership position in consumer electronics, broadcast and
  Site Map
                                       professional systems and information technology products. Sony is also committed to developing new technologies
                                       that reflect the networked convergence of audio, video and information technology.

                                       Sony Electronics is the largest component of Sony Corporation of America, the U.S. holding company for Sony's
                                       U.S.-based electronics and entertainment businesses. Sony's principal U.S. businesses include: Sony Electronics
                                       Inc., Sony BMG Music Entertainment Inc.; Sony Pictures Entertainment; Sony Broadband Entertainment; Sony
                                       Computer Entertainment America and Sony Wonder Technology Lab.

                                       Sony Electronics Inc is headquartered in San Diego, Calif. and is a leading provider of audio/video electronics and
                                       information technology products for the consumer and professional markets. Operations include research and
                                       development, design, engineering, manufacturing, sales, marketing, distribution and customer service.

                                       The company is noted for a wide range of consumer audio-visual products, such as the BRAVIA ® HD TV, Cyber-
                                       shot® digital camera, Handycam ® camcorder, Walkman ® personal stereo and Memory Stick® flash media. Sony is
                                       also an innovator in IT products, including VAIO® personal computers; and high-definition professional broadcast
                                       and video products, highlighted by the XDCAM ® HD and CineAlta™ lines of cameras and camcorders, and the
                                       SXRD™ 4K digital projector. Sony also co-developed the Blu-ray, Disc™, CD, DVD and Super Audio CD
                                       technologies. For the latest news and information, please see our Web site at www.sony.com/news.




                       Sony.com              Sony News & Information (En Espanol)                Sony Corporation of America News & Information

                       Sonystyle.com         Sony Customer Service & Support                     Sony Global News & Information         Sonyjobs.com



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